Case 2:05-cv-02168-BBD-dkv Document 15 Filed 06/06/05 Page 1 of 2 Page|D 12

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7`},.\1 IJ'EMDF 116
SMITH MASONRY, INC. JUDGMENT IN A CIVIL CASE
v o
PUBLIC BUILDING AUTHORITY, et al. CASE NO: OS-ZlGB-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND ADJUDGED that in accordance with the Order of
Dismissal entered on June 3, 2005, this cause is hereby dismissed
without prejudice.

APPROVED :

 

 

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This notice confirms a copy of the document docketed as number 15 in
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Honorable Bernice Donald
US DISTRICT COURT

